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14   CITY AND COUNTY OF SAN FRANCISCO, et al.

15                                 UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17    COALITION ON HOMELESSNESS; TORO                Case No. 4:22-cv-05502-DMR
      CASTAÑO; SARAH CRONK; JOSHUA
18    DONOHOE; MOLIQUE FRANK; DAVID                  DECLARATION OF LISA RACHOWICZ IN
                                                     SUPPORT OF DEFENDANTS’ MOTION TO
      MARTINEZ; TERESA SANDOVAL;                     DISMISS THE THIRD AMENDED
19
      NATHANIEL VAUGHN,                              COMPLAINT
20
             Plaintiffs,                             Hearing Date:       February 13, 2025
21                                                   Time:               1:00 p.m.
             vs.                                     Place:              Courtroom 4 – 3rd floor
22                                                                       1301 Clay Street
      CITY AND COUNTY OF SAN                                             Oakland, CA 94612
23    FRANCISCO, et al.,
                                                     Trial Date:         July 28, 2025
24           Defendants.

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      DECL. RACHOWICZ ISO CCSF’S MTD TAC                                      n:\govlit\li2024\230239\01809194.docx
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 1          I, Lisa Rachowicz, declare as follows:

 2          1.       I have personal knowledge of the matters stated, and if called to testify, I can and will

 3   testify competently as to all matters set forth herein.

 4          2.       I am Division Director of Outreach and Temporary Shelter for the San Francisco

 5   Department of Homelessness and Supportive Housing (“HSH”). I have been in this position since

 6   March 2024. Prior to becoming Division Director, I was the Manager of Navigation Centers and

 7   Shelter Programs for the period between November 2020 and March 2024, the Navigation Centers

 8   Program Manger between August 2018 and November 2020, and a Senior Behavioral Health Clinician

 9   between February 2016 and August 2018. I am also a Licensed Clinical Social Worker with the

10   California Board of Behavioral Sciences and obtained a Master’s in Social Work from the University

11   of California, Berkeley.

12          3.       As Division Director of Outreach and Temporary Shelter, part of my responsibilities

13   include leading HSH’s response to street homelessness. I help manage the day-to-day operations of

14   HSH’s outreach shelter and other temporary housing projects, which includes, but is not limited to

15   providing direct oversight of outreach, shelter, and navigation center operations, as well as developing

16   strategic direction, in coordination with the executive team, for outreach and shelter programs within

17   the continuum of care. Based upon my oversight responsibilities, I am familiar with temporary shelter

18   options available to people experiencing homelessness in San Francisco and any active length of stay

19   requirements.

20          4.       Since 2020, a person placed in City-provided shelter may generally stay there as long as

21   they like subject to compliance with shelter rules and requirements. There are narrow exceptions

22   where temporary shelter placements have an active length of stay requirement. For instance, a client

23   placed in the RESTORE program is typically placed for up to seven days, with extensions possible.

24   Journey Home placements are typically one to three days until relocation assistance can be provided.

25   The Urgent Accommodation Voucher program provides shelter for families, survivors of domestic

26   violence, transitional aged youth housing, and transgendered focused programming up to fourteen

27   days, with extensions possible. The COVID Overflow program provides five to ten days isolation for

28   guests that are COVID positive. Transitional Housing programs vary by program, but generally extend
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 1   anywhere between eighteen and thirty-six months. The goal of Transitional Housing is to help

 2   transition individuals into permanent housing solutions.

 3          5.      I have been informed that Toro Castaño, Molique Frank, and Teresa Sandoval have

 4   been placed in emergency shelters. It is my understanding that these shelters are not subject to an

 5   active length of stay requirement.

 6          6.      I have been informed that David Martinez,                                                Sarah

 7   Cronk (also known as Apple Cronk), and Joshua Donohoe are in permanent housing. It is my

 8   understanding that these permanent housing solutions are not subject to an active length of stay

 9   requirement.

10          I declare under penalty of perjury under the laws of the United States that the foregoing is true

11   and correct to the best of my knowledge.

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13          Executed December 30, 2024, at San Francisco, California.

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                                                LISA RACHOWICZ
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